             Case: 1:20-cv-04577 Document #: 405 Filed: 10/09/24 Page 1 of 2 PageID #:16496

                           United States District Court Northern District of Illinois
                           MOTION FOR LEAVE TO APPEAR PRO HAC VICE
 Case Title:                                                                                                 Plantiff(s)
                Mish International Monetary Inc.
                                                                             VS.

                Vega Capital London, Ltd. et al.                                                             Defendant(s)


 Case Number: 1:20-cv-04577                                        Judge: Manish S. Shah


 I,   Richard Ryan Dykhouse                                                                           hereby apply to the Court


 under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

James Biagioni, George Commins, Paul Commins, Aritso Demetriou, Henry Lunn, Elliot Pickering,
Matthew Rhys Thompson, Christopher Roase, Paul Sutton and Connor Younger                        by whom I have been retained.

 I am a member in good standing and eligible to practice before the following courts:
                                                 Title of Court                                                Date Admitted
                                        Supreme Court of New York                                               10/03/2018




 I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
 Court in the following actions:
                                                                                                      Date of Application
      Case Number                                            Case Title                               (Granted or Denied)*
           N/A                                                   N/A                                            N/A




 *If denied, please explain:
 (Attach additional form if
 necessary)
            Case: 1:20-cv-04577 Document #: 405 Filed: 10/09/24 Page 2 of 2 PageID #:16497
Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                Yes                   No       ✔
or is the applicant currently the subject of an investigation of the
applicant’s professional conduct?                                                     Yes                   No       ✔
transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                     Yes                   No       ✔
denied admission to the bar of any court?                                             Yes                   No       ✔
held in contempt of court?                                                            Yes                   No       ✔
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.

10/8/2024                                                S/ Richard Ryan Dykhouse

                 Date                                               Electronic Signature of Applicant

                            Last Name                                          First Name                            Middle Name/Initial
Applicant’s Name
                           Dykhouse                                           Richard                                Ryan

Applicant’s Law Firm       Dechert LLP

                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                           25 Cannon Street

                            City                         State                 ZIP Code             Work Phone Number and Email
                                                                                                   +44 020 7184 7828
                           London                        UK                   EC4M 9BP             ryan.dykhouse@dechert.com

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court.
The fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar permits
an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case only. Application for
such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 08/16/2023
